                              Case 6:24-bk-02642-GER                       Doc 8      Filed 05/31/24                    Page 1 of 2

Information to identify the case:

                       Karlyle C Jones                                                  Social Security number or ITIN:   xxx−xx−5715
Debtor 1:
                                                                                        EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name    Last Name

Debtor 2:                                                                               Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name    Last Name                           EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     Middle District of Florida                           Date case filed for chapter:             13     5/28/24

Case number:          6:24−bk−02642−GER                                                  Date Notice Issued: 5/31/24


Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.

Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                               About Debtor 1:                                                 About Debtor 2:
1. Debtor's full name                          Karlyle C Jones

2. All other names used in the
   last 8 years
3. Address                                     15038 Guava Bay Dr
                                               Winter Garden, FL 34787

4. Debtor's attorney                           Matthew R Gross                                                 Contact phone (407) 403−5936
                                               Fresh−Start.Law, P.A.
    Name and address                           498 Palm Springs Drive Suite 100                                Email: mrg@fresh−start.law
                                               Altamonte Springs, FL 32701

5. Bankruptcy Trustee                          Laurie K Weatherford                                            Contact phone:407−648−8841
                                               Post Office Box 3450
    Name and address                           Winter Park, FL 32790

6. Bankruptcy Clerk's Office             George C. Young Federal Courthouse                                Office Hours: 8:30 AM to 4:00 PM
                                         400 West Washington Street                                        Monday through Friday
    Documents in this case may be filed Suite 5100
    at this address. You may inspect all Orlando, FL 32801
    records filed in this case at this                                                                     Contact phone: 813−301−5319
    office or online
    at https://pacer.uscourts.gov.
                ***You are reminded that Local Rule 5073−1 restricts the entry of personal electronic devices into the Courthouse. ***
                                                                                                                           For more information, see page 2 >
                                                                                                                                                       page 1
                         Case 6:24-bk-02642-GER                            Doc 8           Filed 05/31/24                 Page 2 of 2

Debtor Karlyle C Jones                                                                                                    Case number 6:24−bk−02642−GER

7. Meeting of creditors                  June 27, 2024 at 10:30 AM                                                    Location of Meeting:
  Debtors must attend the meeting to                                                                                  Meeting will be held via Zoom. Go to
  be questioned under oath. In a joint The meeting may be continued or adjourned to a later date. If                  Zoom.us/join, enter meeting ID 536
  case, both spouses must attend.      so, the date will be on the court docket.                                      996 6373, and passcode 3958355040,
  Creditors may attend, but are not                                                                                   or call 321−758−1669
  required to do so.
 *** Debtor must provide a Photo ID and acceptable proof of Social Security Number to the Trustee in the manner directed by the Trustee. ***
                                 *** For additional meeting information go to https://www.justice.gov/ust/moc ***
8. Deadlines                             Deadline to file a complaint to challenge dischargeability of certain debts:
  The bankruptcy clerk's office must     Filing deadline: August 26, 2024
  receive these documents and any        You must file:
  required filing fee by the following   • a motion if you assert that the debtors are not entitled to receive a discharge under U.S.C. § 1328(f) or
  deadlines.                             • a complaint if you want to have a particular debt excepted from discharge under 11 U.S.C. § 523(a)(2) or (4).

                                         Deadline for all creditors to file a proof of claim (except governmental units):
                                         Filing deadline: August 6, 2024
                                         Deadline for governmental units to file a proof of claim:
                                         Filing deadline: 180 days from the date of filing


                                         Deadlines for filing proof of claim:
                                          A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be filed online at
                                         the Court's website at www.flmb.uscourts.gov, or obtained at www.uscourts.gov or at any bankruptcy clerk's
                                         office.
                                         If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                         a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                         Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                         claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                         For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                         including the right to a jury trial.
                                         Attention Mortgage Holders: Attachments to your Proof of Claim may be required by changes to Rule 3001.
                                         Forms and attachments are available at at www.uscourts.gov.


                                         Deadline to object to exemptions:                                         Filing deadline: 30 days after the
                                                                                                                                            conclusion of the meeting
                                          The law permits debtors to keep certain property as exempt. If you                                of creditors
                                         believe that the law does not authorize an exemption claimed, you
                                         may file an objection.

9. Filing of plan, hearing on            The plan will be sent separately. The initial confirmation hearing will be held on:
   confirmation of plan                  July 17, 2024 at 09:00 AM, Location: Courtroom 6D, 6th Floor, George C. Young Courthouse, 400 West
                                         Washington Street, Orlando, FL 32801. The confirmation hearing may be continued upon announcement
                                         made in open court and reflected on the docket without further written notice.

                                         Jacksonville Division: Debtors' attorneys and debtors who are not represented by an attorney must attend the
                                         Initial Confirmation Hearing.

                                         Orlando, Tampa, and Ft. Myers Divisions: Debtors and their attorneys are not required to attend the Initial
                                         Confirmation Hearing because, in most cases, the Initial Confirmation Hearing will be continued to a date after
                                         the deadline for filing proofs of claim. However, the Court will hear and may rule on motions and objections that
                                         are separately noticed for hearing for the same time as the Initial Confirmation Hearing.

                                         Local Rule 5073−1 restricts the entry of electronic devices and mobile phones into the Courthouse.
10. Creditors with a foreign              If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to extend the
    address                               deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any questions about
                                          your rights in this case.
11. Filing a chapter 13                   Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts according to a
    bankruptcy case                       plan. A plan is not effective unless the court confirms it. You may object to confirmation of the plan and appear at the
                                          confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if the confirmation hearing is not
                                          indicated on this notice, you will be sent notice of the confirmation hearing. The debtor will remain in possession of the
                                          property and may continue to operate the business, if any, unless the court orders otherwise.
12. Exempt property                       The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed to
                                          creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt. You may
                                          inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you believe that the law does not
                                          authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                    Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt. However,
                                          unless the court orders otherwise, the debts will not be discharged until all payments under the plan are made. A discharge
                                          means that creditors may never try to collect the debt from the debtors personally except as provided in the plan. If you
                                          want to have a particular debt excepted from discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and
                                          pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a
                                          discharge of any of their debts under 11 U.S.C. § 1328(f), you must file a motion. The bankruptcy clerk's office must
                                          receive the objection by the deadline to object to exemptions in line 8.
14. Voice Case Info. System               McVCIS provides basic case information concerning deadlines such as case opening and closing date, discharge date and
    (McVCIS)                              whether a case has assets or not. McVCIS is accessible 24 hours a day except when routine maintenance is performed. To
                                          access McVCIS toll free call 866−222−8029.


Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                                 page 2
